               Case 21-10849-CSS          Doc 37      Filed 07/08/21     Page 1 of 3




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:
                                                                 Chapter 7 (Involuntary)
 PARK PLACE DEVELOPMENT PRIMARY,
                                                                 Case No. 21-10849 (CSS)
 LLC

                            Alleged Debtor.


                            DECLARATION OF JUSTIN CASSON


      I, Justin Casson, hereby declare as follows:

          1.   I am a real estate appraiser for CBRE, Inc. (“CBRE”). I am a member of the

Appraisal Institute (“MAI”). My qualifications are attached hereto as Exhibit A.


          2.   I submit this declaration in connection with the Motion for Entry of an Order

Dismissing the Involuntary Petition Pursuant to 11 U.S.C. 707(A) and 305(A) or, in the Alternative,

for Relief from The Automatic Stay (the “Motion”).


          3.   I am over the age of 18, competent to testify, and authorized to submit this

Declaration on behalf of the Lenders. If I were called to testify as a witness in this matter, I could

and would competently testify to each of the facts set forth herein to the best of my knowledge.


          4.   Fried, Frank, Harris, Shriver & Jacobson, LLP, One New York Plaza, New York,

New York 10004, counsel for Malayan Banking Berhad, New York Branch (the “Administrat ive

Agent”), as Administrative Agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo

S.P.A., New York Branch, Warba Bank K.S.C.P., and 45 Park Place Investments, LLC

(collectively, the “Lenders”), commissioned CBRE to appraise the real property located in New


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               Case 21-10849-CSS         Doc 37      Filed 07/08/21      Page 2 of 3




York County, commonly known as 43 Park Place, located at 43 Park Place, New York, New York

10007 (Block 126, Lot 8) (the “Property”). The Property is specifically described in the appraisal

report (the “Appraisal Report”) attached hereto as Exhibit B and incorporated herein by this

reference.


       5.      The facts set forth in the Appraisal Report are true and correct. The analyses,

opinions, and conclusions contained in the Appraisal Report are limited only by the reported

assumptions and limiting conditions.


       6.      I have no present or prospective interest in the Property. I have no personal interest

or bias with respect to the parties involved. My compensation is not contingent on any action or

event resulting from the analyses, opinions, or conclusions in, or the use of, the Appraisal Report.


       7.      The analyses, opinions and conclusions contained therein were developed, and the

Appraisal Report prepared in conformity with and subject to the requirements of the Code of

Professional Ethics and the Standards of Professional Appraisal Practice of the Appraisal Institute.


       8.      I have completed the requirements of a continuing education program of the

Appraisal Institute. I have also satisfied the requirements as a Certified General Real Estate

Appraiser, licensed by the State of New York.


       9.      I have personally inspected the subject Property.


       10.     I prepared the Appraisal Report. Adam Weil provided me with professional

assistance in connection with the preparation of the Appraisal Report.




                                                 2
               Case 21-10849-CSS          Doc 37      Filed 07/08/21    Page 3 of 3




       11.     As set forth in the Appraisal Report, it is my professional opinion that the present

“as is” fair market value of the Property, as of July 2, 2021, is $87,900,000.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Executed on: July 7, 2021

                                                By:



                                                  _________________________
                                                  Justin Casson, MAI




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